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PURPOSE OF FORM: (CHECK ONLYONE) ID#: U >
   GRIEVANCE / MEDICAL ATTENTION
        MEDICATION (other than med call problems only) OTHER
REASON FOR GRIEVANCE/OTHER REQUEST/OR MEDICAL ATTENTION (IF NOT CONFIDENTIAL) - BE SPECIFIC:




           INMATE SIGNATURE                            JAILER SIGNATURE
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     MEDICATION (other than med call problems only) _ OTHER
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NAME:                                                                                    CELL:

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     GRIEVANCE MEDICAL ATTENTION
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REASON FOR GRIEVANCE/OTHER REQUEST/OR MEDICAL ATTENTION (IF NOT CONFIDENTIAL) - BE SPECIFIC:
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                                           (ONLY ONE REQUEST PER FORM)

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PURPOSE OF FORM: (CHECK ONLY ONE) ID#:
    GRIEVANCE MEDICAL ATTENTION
     MEDICATION (other tha med call problems only) _ OTHER
REASON FOR GRIEVANCE/OTHER REQUEST/OR MEDIC L ATTENTION (IF NOT CONFIDENTIAL) - BE SPECIFIC:




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                                      COUNTY JAIL     Filed 03/26/19 Page 7 of 27 PageID #: 4535
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                                       / ONLY ONE REQUEST PER FORM)

NAME:        0 KI o                        TO                            CELL:

PURPOSE OF FORM: (CHECK ONLY ONE ID#:
    GRIEVANCE MEDICAL ATTENTION
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